
223 P.3d 493 (2009)
167 Wash.2d 671
STATE of Washington, Respondent,
v.
Tony L. LEAGUE, Petitioner.
No. 82991-8.
Supreme Court of Washington, En Banc.
Decided December 10, 2009.
Edward P. Lombardo, Mason County Prosecutor's Office, Shelton, WA, for Respondent.
Thomas Edward Doyle, Attorney at Law, Hansville, WA, for Petitioner.
PER CURIAM.
¶ 1 Tony League was found guilty of first degree robbery and unlawful imprisonment, and the trial court sentenced him for both crimes. On League's appeal the Court of Appeals determined that the two crimes merged under constitutional double jeopardy principles. See U.S. Const. amend. V; Wash. Const. art. I, § 9. The court therefore vacated the sentences and remanded for resentencing only on the first degree robbery conviction. But the court otherwise affirmed both convictions. League petitioned for this court's review, disputing the remedy the Court of Appeals ordered.
¶ 2 League correctly argues that the Court of Appeals remedy is incomplete. When two convictions violate double jeopardy principles, the proper remedy is to vacate the lesser conviction and remand for resentencing on the remaining conviction. See State v. Kier, 164 Wash.2d 798, 814, 194 P.3d 212 (2008); State v. Knight, 162 Wash.2d 806, 812, 174 P.3d 1167 (2008).
¶ 3 Accordingly, the petition for review is granted, the Court of Appeals is reversed in part, and the matter is remanded to the trial court with directions to vacate the unlawful imprisonment conviction and resentence League on the first degree robbery conviction.
